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   IT IS ORDERED as set forth below:



   Date: February 14, 2018
                                                      _________________________________

                                                               Barbara Ellis-Monro
                                                          U.S. Bankruptcy Court Judge


 ________________________________________________________________




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:
                                                          CHAPTER 11
RICHARD J. REYNOLDS, IV,
                                                          CASE NO. 17-52365-bem
          Debtor.

  ORDER GRANTING APPLICATION REQUESTING ENTRY OF ORDER CONDITIONALLY
 APPROVING DISCLOSURE STATEMENT, SCHEDULING HEARING, AND ESTABLISHING
                          CERTAIN DEADLINES”

         A Chapter 11 Plan of Reorganization (the “Plan”), Disclosure Statement for Plan of

Reorganization (the “Disclosure Statement”), and an “Application Requesting Entry of Order

Conditionally Approving Disclosure Statement, Scheduling Hearing, and Establishing Certain

Deadlines” (“Application”) were filed by Debtor on February 13, 2018.        The Plan and the

Disclosure Statement are available for review in the office of the Clerk, U.S. Bankruptcy Court,

75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 between 8:00 a.m. and 4:00 p.m. or online

at http://ecf/ganb/uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov

(unregistered users.). Alternatively, creditors may request a copy of the Plan and Disclosure
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Statement by contacting Debtor’s attorney: Leslie M. Pineyro, Jones & Walden, LLC, 21 Eighth

Street, NE, Atlanta, Georgia 30309, lpineyro@joneswalden.com, (404) 564-9300.

 Accordingly, it is hereby

        ORDERED and NOTICE IS HEREBY GIVEN that:

        A. The Disclosure Statement filed by Debtor is conditionally approved.

        B. March 16, 2018, is fixed as the last day for filing, on the ballot form attached to the

Application, written acceptances or rejections of Debtor's Plan. All ballots must be filed with the

Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 and a copy

mailed to Debtor’s attorney, Leslie M. Pineyro, Jones & Walden, LLC, 21 Eighth Street, NE,

Atlanta, Georgia 30309.

        C. March 16, 2018, is fixed as the last day for filing and serving written objections to the

Disclosure Statement or to confirmation of the Plan.          Any such written objection to the

Disclosure Statement or to confirmation of Debtor's Plan must be filed with the Clerk, U.S.

Bankruptcy Court, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303 and a copy mailed to

Debtor’s attorney, Leslie M. Pineyro, Jones & Walden, LLC, 21 Eighth Street, NE, Atlanta,

Georgia 30309.

        D. A hearing will be held in in the United States Bankruptcy Court, Courtroom 1402,

Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner

Drive, SW, Atlanta, Georgia 30303 at 11:00 a.m. on the 21st day of March, 2018, (1) to

consider any objections to the Disclosure Statement, (2) to consider confirmation of the Plan

and (3) to determine the value of collateral and extent to which claims are secured pursuant to

11 U.S.C. §506(a) and Rule 3012.

        E. The timeframe within which the Court may confirm the Debtor’s proposed Plan and

for Debtor to file any amendments to the Plan and Disclosure Statement is hereby extended

through and including June 28, 2018.

        Debtor’s attorney is directed to serve a copy of this Order and Notice, with the Ballot


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(as attached to the Application), the Plan, and the Disclosure Statement upon the U.S. Trustee

and all creditors and parties in interest within three days of entry of this Order and Notice, and to

file a certificate of such service within two days of mailing.

        At least three days prior to the scheduled hearing on confirmation of the Plan, Debtor’s

attorney shall file a Summary of the Voting on the Plan of Reorganization indicating that all

ballots cast have been tabulated and the resulting vote for each class designated in the Plan.

                                            End of Order

Prepared By:
JONES & WALDEN, LLC
/s/ Leslie M. Pineyro
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 (404) 564-9300 Telephone
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Attorneys for Debtor in Possession

Distribution List
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Office of the U.S. Trustee, 362 Richard Russell Federal Bldg, 75 Ted Turner Dr., SW, Atlanta,
GA 30303




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